                        UNITED STATES DISTRICT COURT
                      FOR WESTERN DISTRICT OF KENTUCKY
                                AT LOUISVILLE

                               ELECTRONICALLY FILED

LINDA DAVIS, Individually and On                    Civil Action No. 3:19-cv-00466-CRS
Behalf of All Others Similarly Situated,

        PLAINTIFF

v.

STATE FARM MUTUAL AUTOMOBILE
INSURANCE COMPANY

-and-

STATE FARM FIRE AND
CASUALTY COMPANY,

        DEFENDANTS

___________________________________

                    PLAINTIFF’S MEMORANDUM IN SUPPORT OF
                           MOTION TO CERTIFY CLASS


                                           Respectfully submitted,

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I. INTRODUCTION

        State Farm has failed to disclose the existence of uninsured (UM) or underinsured

(UIM) motorist coverage to dozens, if not hundreds, of Kentucky residents needing that

coverage for injury claims arising out of car accidents. In 2018 and 2019, undersigned

counsel discovered that several of his own clients, including Plaintiff Linda Davis, had

their UM and UIM claims closed by State Farm with the representation that the full extent

of the available coverage had been disclosed and, when coverage was identified, fully

paid. It was not. In some cases, State Farm failed to disclose any coverage whatsoever

despite the existence of the same.1 In other cases, like that of Linda Davis, State Farm

paid the UIM policy limits under one policy and closed the matter without ever identifying

to their own insured that there were other stackable policies in the household that could

provide coverage.2 These cases involve accidents dating back to at least 2013.3 This

conduct arises from claims handling methods that amount to unlawful claims and

settlement practices, bad faith, fraudulent misrepresentations and omissions, consumer

protection violations and grossly negligent conduct, all of which has resulted in the non-

disclosure of millions of dollars in payable UM and UIM coverage to Kentucky State Farm

insureds.

        In 2018-2019, State Farm finally acknowledged its pattern and practice, conducting

a review of their claims and disclosing to dozens of Kentucky insureds that coverage had


1 See Brown v. State Farm Auto Ins. Co., et al., 18-CI-00469, (Shelby Cir. Ct., 18-CI-469; filed Sep. 14,
2018); Stinson v. State Farm Mut. Auto Ins. Co, et al., 3:18-cv-759-DJH, (W.D. Ky., 3:18CV-759-DJH;
removed on Nov. 15, 2018); Gallo v. State Farm Mut. Auto Ins. Co., et al., (W.D. Ky, 3:18-cv-842-CHB,
removed on Dec. 19, 2018).
2 See Wright v. State Farm Mut. Auto Ins. Co., et al., 19-CI-00564, (McCracken Cir. Ct., 19-CI-564; filed

June 20, 2019); Chapman v. State Farm Mut. Auto Ins. Co, 3:19-cv-442-RGJ, (W.D. Ky., 3:19CV-442-
RGJ; removed on June 18, 2019).
3
  State Farm has confirmed the same in a recent discovery response in Brown v. State Farm Auto Ins.
Co., et al., 18-CI-00469, (Shelby Cir. Ct., 18-CI-469; filed Sep. 14, 2018)

                                                     5
been withheld from them in instances where such coverage was needed for their claims.4

The company began sending out standard letters and, in many situations, checks for the

full amount of the coverage. The amount of payable coverage withheld from insureds by

the company is in the millions, if not tens of millions, of dollars.5 Furthermore, the review

only identified half of the issues, thus leaving other insureds exposed to the conduct

without remedial efforts. This is due to the review only accounting for claims where

underlying UM/UIM limits were paid by State Farm (the company identified situations

where stackable coverage was not disclosed or paid); State Farm has not reviewed their

claims to identify situations where no coverage was disclosed or paid at all, despite the

existence of household policies which would have afforded coverage.6

        Each member of the proposed class has similar (if not identical) claims available

for this non-disclosure of coverage. The Plaintiff, Linda Davis, for herself and on behalf of

the many other State Farm insureds who were entitled to make claims against coverage

that remained undisclosed, brings this action for unfair claims and settlement practices,

bad faith, violation of the Kentucky Consumer Protection Act, Breach of Fiduciary Duties,

Fraudulent Misrepresentation and Omission, and Gross Negligence. Through this Motion

and Memorandum in Support, the Plaintiff respectfully moves the Court to certify this

action and the proposed class below.




4 See Exhibit A for an example of the letters.
5 See Plaintiff’s Complaint at Paragraph 35(iv) for the definition of “payable” for purposes of defining the
class.
6
  State Farm has also confirmed this fact in a recent discovery response in Brown v. State Farm Auto Ins.
Co., et al., 18-CI-00469, (S Shelby Cir. Ct., 18-CI-469; filed Sep. 14, 2018). Brown herself constitutes an
example of this type of occurrence, as she was advised that there was no UM coverage available at all for
her and her claim was denied, despite the existence of a household policy affording her the coverage.


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II. LEGAL STANDARD UNDER RULE 23

        A class action is an exception to the usual rule that litigation is conducted by and

on behalf of the individual named parties only. A class representative must be part of the

class and possess the same interest and suffer the same injury as the class members.

To be certified, a class must satisfy the four Rule 23(a) prerequisites--numerosity,

commonality, typicality, and adequate representation--and fall within one of the three

types of class actions listed in Rule 23(b). The party seeking class certification has the

burden to prove the Rule 23 certification requirements.7

        In determining whether certification is appropriate, “it may be necessary for the

court to probe behind the pleadings,” and the analysis may “entail some overlap with the

merits of the plaintiff's underlying claim” or involve “considerations that are enmeshed in

the factual and legal issues comprising the plaintiff's cause of action.”8 “Merits questions

may be considered to the extent—but only to the extent—that they are relevant to

determining whether the Rule 23 prerequisites for class certification are satisfied.”9 But in

general, the district court must accept as true the allegations of plaintiffs' complaint and

resolve doubts in favor of plaintiffs.10 The question is not “who will prevail on the merits,

but rather whether the proposed class and class representative[s] meet the requirements

for certification under Rule 23(a) and (b).”11 It is not always necessary to probe behind

the pleadings before resting on the question of certification, because sometimes there

may be no dispute of factual and legal issues strongly influencing class treatment.12



7 Young v. Nationwide Mut. Ins. Co., 693 F.3d 532, 537 (6th Cir. 2012).
8 Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 350-51 (2011).
9 Amgen Inc. v. Conn. Ret. Plans & Trust Funds, 568 U.S. 455, 466 (2013).
10 See Cross v. Nat'l Trust Life Ins. Co., 553 F.2d 1026, 1029 (6th Cir.1977).
11 5 Moore's § 23.84(1).
12 Young, 693 F.3d at 537.


                                                     7
       a. Numerosity

       Rule 23(a)(1) requires that the class be “so numerous that joinder of all members

is impracticable.”13 A substantial number usually satisfies numerosity but no strict

numerical test is applied.14 “There is no magic minimum number that will breathe life into

a class.”15 A plaintiff must show some evidence or be able to reasonably estimate the

number of class members, and the court may make common sense assumptions when

assessing numerosity without needing perfect precision in quantification.16 “[T]he exact

number of class members need not be pleaded or proved” for a class to be certified, as

long as the class representatives can show that joinder would be impracticable.17

       b. Commonality

       The second requirement to be met under Rule 23(a)(2) requires a showing that

there are “questions of law or fact common to the class....”18 “When the party opposing

the class has engaged in some course of conduct that affects a group of persons and

gives rise to a cause of action, one or more of the elements of that cause of action will be

common to all of the persons affected.”19 “The commonality test ‘is qualitative rather than




13 Fed. R. Civ. P. 23(a)(1).
14 Gilbert v. Abercrombie & Fitch Co., No. 2:15-cv-2854, 2016 WL 4159682, at * 4 (S.D. Ohio Aug. 5,
2016) (citing Daffin v. Ford Motor Co., 458 F.3d 549, 552 (6th Cir. 2006)).
15 Russo v. CVS Pharmacy, Inc., 201 F.R.D. 291, 294 (D. Conn. 2001) (quoting Jones v. CCH–LIS Legal

Info. Servs., 1998 WL 671446, *1 (S.D.N.Y. Sept. 28, 1998)).
16
   Id.
17
   Golden v. City of Columbus, 404 F.3d 950, 965–66 (6th Cir. 2005) (quoting McGee v. E. Ohio Gas Co.,
200 F.R.D. 382, 389 (S.D. Ohio 2001)); Grae v. Corr. Corp. of Am., 330 F.R.D. 481, 501 (M.D. Tenn.
2019); Davidson v. Henkel Corp., 302 F.R.D. 427, 436 (E.D. Mich. 2014) (holding that a class of 40 or
more members is generally sufficient to satisfy the numerosity requirement); Afro American Patrolmen's
League v. Duck, 503 F.2d 294, 298 (6th Cir. 1974) (holding that 35 class members satisfied the
numerosity requirement).
18 Fed. R. Civ. P. 23(a)(2).
19 Rodriguez v. Berrybrook Farms, Inc., 672 F.Supp. 1009, 1015 (W.D.Mich.1987).


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quantitative, that is, there need be only a single issue common to all members of the

class.’”20

        c. Typicality

        A plaintiff's claim is typical if it arises from the same course of conduct or practice

that that the other class members’ claims also arise from, and if those claims are based

on the same legal theory.21

        While Rule 23(a)(2) requires plaintiffs to prove that there are questions of fact or

law common to the class, Rule 23(a)(3) requires proof that plaintiffs' claims are typical of

the class members' claims. Commonality and typicality tend to merge because they are

both guideposts for whether the maintenance of a class action is economical under the

circumstances, and whether the plaintiff's claim and the class claims are so interrelated

that the interests of the class members will be fairly and adequately protected in their

absence.22 A necessary consequence of the typicality requirement is that the

representative's interests will be aligned with those of the represented group, and in

pursuing her own claims, the named plaintiff will also advance the interests of the class

members.

        The fact that a defense may arise and may affect different class members

differently does not compel a finding that individual issues predominate over common

ones. While the commonality element of Fed. R. Civ. P. 23(a)(2) requires showing one

question of law or fact common to the class, a Rule 23(b)(3) class must show that




20 In re American Medical Systems, 75 F.3d 1069, 1080 (6th Cir.1996) (citing Herbert Newberg, et al., 1, §
3–10 at 3–50 (3d. ed.1992); In re Telectronics Pacing Sys., Inc., 172 F.R.D. 271, 280 (S.D. Ohio 1997).
21 Young, 693 F.3d at 542.
22 Id.


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common questions will predominate over individual ones.23 Where a threshold issue is

common to all class members, class litigation is greatly preferred.24

        d. Adequacy of Representation

        The adequacy inquiry under Fed. R. Civ. P. 23(a)(4) serves to assure that 1) the

representative has common interests with unnamed members of the class without

conflicts of interests and 2) that the representatives will vigorously prosecute the interests

of the class through qualified counsel.

        e. Superiority

        Rule 23 was enacted for the purpose of saving court resources and enabling

similar actions by similar persons for similar remedies to be administered and determined

in a simple, orderly, and economical fashion.25 Class action resolution avoids multiplicity

of litigation and separate litigations producing inconsistent results, and instead makes the

litigation of related claims more efficient.26 Class actions have two primary purposes: (1)

to accomplish judicial economy by avoiding multiple suits, and (2) to protect rights of

persons who might not be able to present claims on individual basis.27 However, class

claims need not be based on identical facts or proof. Because a purpose to be served by

class action is to prevent multiplicity of suits based on a wrong common to all, if class

certification were denied simply because all of the allegations of the class do not fit

together like pieces in a jigsaw puzzle, much of utility of Rule 23 would be destroyed.28




23 Id. at 545.
24 Id.
25 Kekich v. Travelers Indem. Co., 64 F.R.D. 660, 667 (D. Pa. 1974).
26 Schaffner v. Chemical Bank, 339 F. Supp. 329, 334 (S.D.N.Y. 1972).
27 Haley v. Medtronic, Inc., 169 F.R.D. 643, 647 (C.D. Cal. 1996).
28 Green v. Wolf Corp., 406 F.2d 291, 300 (2d Cir. 1968), cert. denied, 395 U.S. 977 (1969).


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       Class treatment provides a just and comprehensive remedy for those who have

been injured by fraudulent courses of conduct but who would not be able to effectively

protect themselves by separate lawsuits, either due to ignorance or economic situation.29

It is especially efficacious in actions where there are common questions of law and relief

is sought with respect to class as whole.30 Class actions are relatively inexpensive,

expeditious, and a socially desirable way for few named plaintiffs to raise questions

concerning the rights of large numbers of people and to secure comprehensive and just

remedies where rights are shown to be violated.31

       Class actions are routinely certified in insurance litigation. Insureds experiencing

the same or similar harms usually present common questions of law and fact among

putative class members and generally satisfy typicality and commonality requirements

of Fed. R. Civ. P. 23(a)(2) and (3).32

III. BACKGROUND

       The named Plaintiff, Linda Davis, was a State Farm insured who was seriously

injured in an automobile wreck that was caused by an underinsured driver. In August of

2016, State Farm, employing the methods and practices that are at the center of this

action, extended an offer of $100,000.00 for the settlement of Linda’s UIM claim. The

insurer represented to Linda and her counsel that “the offer represents the limits of her

Underinsured Motorist Coverage”.33 In fact, Linda had $200,000.00 in UIM coverage with




29 Moscarelli v. Stamm, 288 F. Supp. 453, 461 (E.D.N.Y. 1968).
30 Poe v. Menghini, 339 F. Supp. 986, 990 (D. Kan. 1972).
31 Watson v. Branch County Bank, 380 F. Supp. 945, 957 (W.D. Mich. 1974), rev'd, 516 F.2d 902 (6th Cir.

1975).
32 Gooch v. Life Investors Ins. Co. of Am., 264 F.R.D. 340, 348 (M.D. Tenn. 2009), vacated, in part, 672

F.3d 402 (6th Cir. 2012).
33
   See Exhibit B

                                                  11
State Farm. State Farm did not disclose the existence of this additional coverage to Linda

or her counsel until May of 2019, when it was revealed in a letter sent to Linda’s counsel

as part of their internal audit for undisclosed stackable coverage in situations where there

was a policy limits payment on another policy. To be clear, this audit was not prompted

by any unilateral act of good faith; it was only performed after several other lawsuits

identified the issue.

             The audit that identified the undisclosed coverage for Linda also identified dozens

of other instances of undisclosed coverages in cases where underinsured and uninsured

coverage was payable but were concealed from State Farm insureds. These known non-

disclosures, and others yet to be identified, were blatant unfair claims practices.

IV. CLASS DEFINITION

             The Plaintiff proposes to certify the following Class, the definition of which is

sufficient to make it administratively feasible for the Court to identify whether a particular

individual is a member.34

      i.        All persons who meet the definition of an insured for UM or UIM coverages

                under one or more Kentucky State Farm auto policies AND

      ii.       Were injured in a motor vehicle accident AND

      iii.      State Farm did not fully disclose all UM and/or UIM coverages available to the

                individual for his or her covered losses AND

      iv.       The undisclosed UM and/or UIM coverages, had they been disclosed, would

                have been “payable” for the covered losses. For purposes of the Class,




34   Young, supra, 693 F.3d at 537-8.

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               “payable” is defined by instances where coverage was not disclosed in

               situations where:

               a. For UIM coverage:

                       i. The underlying bodily injury coverage available to the individual were

                           exhausted OR

                       ii. Where underlying bodily injury coverage to the individual were not

                           exhausted, BUT other UIM coverage which was disclosed to the

                           individual was paid and exhausted

               b. For UM coverage:

                       i. One or more tortfeasors were uninsured, and the primary disclosed

                           UM coverage was exhausted OR

                       ii. There was no other available UM coverage other than that which was

                           not disclosed

V. ARGUMENT

          A. This action satisfied the requirements of Rule 23(a)

          This Court has broad discretion in determining whether an action should be

certified as a class action.35 The requirements of Rule 23(a) are satisfied in this instance

and favor class treatment.

               1. The Proposed Class Meets the Requirement of Numerosity

          While no strict numerical test exists, substantial numbers of affected consumers

are sufficient to satisfy the numerosity requirement36. The proposed Class in this case

satisfies the numerosity requirement for three reasons. First, the number of people in the


35   Sterling v. Velsicol Chemical Corp., 855 F.2d 1188, 1197 (6th Cir. 1988).
36   Young, supra, 693 F.3d at 542.

                                                      13
class is sufficient to make joinder impracticable. Counsel is aware of several dozen letters

like the one sent to the Plaintiff where State Farm itself identifies instances of non-

disclosed payable coverage. Although there is no ‘magic number’ that satisfies the

numerosity requirement, our courts readily recognize that numbers in the dozens present

challenges to joinder that merit class certification.37 In this case, State Farm has the

means to identify the members of the class and the need to review further individual files

to identify its members are not reasons to deny class certification.38

        Second, a finding of geographical dispersion among the putative class members

will usually support a finding of numerosity because such a finding supports the

proposition that joinder is impracticable39.             State Farm does business pervasively

throughout the state of Kentucky; they are Kentucky’s largest auto insurer by market

share and have agencies in nearly all counties of the state. Putative class members will

likewise be dispersed throughout the state. This statewide distribution weighs in favor of

finding that conventional joinder of all Plaintiffs in a single action is impracticable.40

        The third reason is the judicial efficiency of certifying a class versus individual

lawsuits. For example, if class members were to file multiple claims in multiple fora,

judicial resources would be wasted on duplicative lawsuits.41 These various actions would

present the same or similar questions over and over regarding pre-trial and discovery

conduct. The same or similar proof would be taken and presented in each action. There

would potentially be dozens of trials. Judicial efficiency would be better served by making


37 See Davidson, supra; Duck, supra.
38 Young, 693 F.3d at 539.
39 Gries v. Standard Ready Mix Concrete, LLC, 252 F.R.D. 479, 486 (N.D. Iowa 2008).
40 See, e.g. Barry v. Corrigan, 79 F. Supp. 3d 712, 731 (E.D. Mich. 2015), aff'd sub nom. Barry v. Lyon, 834

F.3d 706 (6th Cir. 2016) (likely geographical dispersion of class and subclass members across the state
favors finding numerosity).
41 Gries, supra, 252 F.R.D. at 487.


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a determination of liability in one class action instead of in potentially dozens of separate

actions. Thus, this factor weighs in favor of a finding of numerosity.42

           2. Commonality of Issues is Present Among the Class Claims

       The commonality requirement is satisfied in this instance because there are

numerous legal and factual questions arising from State Farm’s common practices and

procedures that are integral to resolution of the issue of liability and which do not vary

from one Class member to the next. State Farm has a highly developed system for claims

handling and all Class members were similarly subjected to the same policies, methods

and procedures, which produced the same harm – i.e. the non-disclosure of payable

insurance coverage. Although different Class members may have differing underlying

factual bases for their underlying claims and differing degrees of harm, that does not

affect the commonality among them created by the uniform practices applied to their

claims.

       For example, some of the most important common questions of fact include:

           •   Whether State Farm’s practice of assigning separate policy numbers to

               each household auto policy is deliberately designed to promote the under-

               reporting of the existence of policies affording payable UM and UIM

               coverage to Kentucky insureds.

           •   Whether State Farm employees are incentivized in a manner which

               promotes the non-disclosure of UM & UIM coverages to Kentucky insureds.




42Powell v. Tosh, 280 F.R.D. 296, 305 (W.D. Ky. 2012), on reconsideration, No. 5:09-CV-121, 2012 WL
2601946 (W.D. Ky. July 5, 2012).


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          •   Whether State Farm’s UM and UIM coverage identification and disclosure

              practices to Kentucky insureds are designed in a manner to promote the

              non-identification or disclosure.

          •   Whether State Farm’s practice of sending a ‘Confirmation of Coverage’

              document to Kentucky insureds identifying the existence (or lack thereof) of

              UM and UIM coverages on a single policy, versus sending declarations

              pages for all household policies, is misleading and deceptive.

          •   Whether State Farm’s non-disclosure of payable UM and UIM coverages to

              Kentucky insureds was false, misleading and/or deceptive.

          •   Whether State Farm misrepresented the amount of payable UM and UIM

              coverage to Kentucky insureds and, if so, whether it was reasonable for the

              insureds to rely upon the misrepresentations.

       These questions are a representative sample of those common to all members of

the Class, which by its definition is comprised of individuals who had payable UM or UIM

claims and the existence of coverage was not disclosed by State Farm.

       Among the important, but not exclusive, common questions of law are:

   •   Whether State Farm has a duty under common law, the Kentucky Unfair Claims

       Settlement Practices Act and / or Kentucky’s Consumer Protection Act to disclose

       all payable UM and UIM coverage to their Kentucky insureds.

   •   Whether the non-disclosure of payable UM and UIM coverage amounts to

       “misrepresenting pertinent facts or insurance policy provisions relating to

       coverages at issue” as identified in the Kentucky Unfair Claims and Settlement

       Practices Act, KRS 304.12-230.


                                             16
   •   Whether the non-disclosure of payable UM and UIM coverage amounts to

       fraudulent, deceptive and misleading conduct under the Kentucky Consumer

       Protection Act.

       The resolution of any or all of these questions advances the litigation for the entire

class and is sufficient to satisfy the commonality requirement of the rule.

          3. Plaintiff’s Claims are Typical of the Class.

       In this case, the claims asserted by the class representative coincides precisely

with the claims asserted on behalf of the class. Linda Davis had over $350,000 in medical

bills. State Farm disclosed $100,000 to Linda Davis as the full amount of her UIM

coverage with State Farm. This settlement, when combined with the underlying coverage,

did not even cover half of her medical bills. Linda Davis was actually insured under a

second household policy affording another $100,000 in medical bills. State Farm withheld

the existence of this payable UIM coverage from her until May 2019, more than 2 years

after closing out her claim and advising her and her counsel that all UIM coverage was

disclosed and paid. This fact pattern represents the precise scenario which defines the

class: There was UM or UIM coverage available to a Kentucky State Farm insured. It was

payable. State Farm did not disclose it.

       Here, all class members were at subjected to the same conduct and harms: they

were Kentucky State Farm insureds, there was UM or UIM coverage insuring them, they

were in a position to make a claim against it and State Farm did not disclose it. The claims

of the class representative are based on the same legal theory as the claims of the class

members – that these were violations by State Farm of the Kentucky Unfair Claims and




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Settlement Practices Act and the Kentucky Consumer Protection Act, and that the

conduct was fraudulent. The typicality requirement is met.

            4. Plaintiff is an Adequate Representative of the Class

        The criteria for adequacy are satisfied in this case. There is no conflict between

plaintiffs or their counsel and other class members. The Plaintiff is represented by

attorneys who have been involved in similar Kentucky litigation involving similar State

Farm practices against other insureds. Counsel for Plaintiff works with several experts

who have been involved with similar cases in Kentucky and throughout the country,

involving both State Farm and other insurers associated with similar issues. There is no

indication that the class representative will not vigorously pursue her claims, which are

co-extensive with the class, or that counsel is unable to adequately prosecute those

claims.

        B. The proposed Class satisfies the requirements of Rule 23(b)

        In addition to fulfilling the four prerequisites of Rule 23(a), the proposed class must

also meet at least one of the three requirements listed in Rule 23(b). A class action may

be maintained if the court finds that the questions of law or fact common to class members

predominate over any questions affecting only individual members and that a class action

is superior to other available methods for fairly and efficiently adjudicating the

controversy.43

        Rule 23(b)(3) requires only a showing that questions common to the class

predominate, not that those questions will be answered, on the merits, in favor of the




43
  In re Whirlpool Corp. Front-Loading Washer Prod. Liab. Litig., 722 F.3d 838, 850 (6th Cir. 2013);
Federal Rule of Civil Procedure 23(b)(3)

                                                   18
class.44 The proposed class in this case is based on predominate questions and the class

will prevail or fail in unison, for all of the same reasons discussed above in conjunction

with the Rule 23(a) prerequisites of commonality and typicality. Rule 23(b)(3) does not

mandate that a plaintiff seeking class certification prove that each element of the claim is

susceptible to class-wide proof. Evidence will either prove or disprove as to all class

members whether the alleged practices of State Farm violated the insurer’s duties to their

insureds; violated the Unfair Claims Settlement Practices Act, the Kentucky Consumer

Protection Act; and whether State Farm’s practices were deceptive and misleading.

Those are questions which predominate in any assessment of liability regardless of the

details of individual claims.

       Class treatment is also a superior method of addressing these claims. The

superiority prong of Rule 23(b)(3) certification addresses “the relative advantages of a

class action suit over whatever other forms of litigation might be realistically available to

the plaintiffs.”45 As previously noted, there are common questions of fact and law that

form the nucleus of this case. If these claims were to be tried as individual actions, there

would be an enormous duplication of discovery into the background of the practices

employed by State Farm. This would be a monumental waste of resources – both judicial

resources and by individual plaintiffs forced to shoulder the costs and effort of moving

their cases forward alone to answer the very same questions. This would also raise the

possibility of inconsistent rulings on the posture of State Farm’s practices under the law.

Class determination would be clearly superior.



44
  Rikos v. Procter & Gamble Co., 799 F.3d 497, 521 (6th Cir. 2015)
45
  Powell, supra, at 296, 310–11 (W.D. Ky. 2012), on reconsideration, No. 5:09-CV-121, 2012 WL
2601946 (W.D. Ky. July 5, 2012)

                                                 19
VI. CONCLUSION

       Numerous Kentucky State Farm insureds who were injured in accidents were all

subjected to the same conduct by the insurer: there was payable State Farm UM and UIM

coverage to the insured, State Farm was obligated to identify and disclose (and pay) this

coverage to the insured, State Farm did not disclose the coverage and instead closed out

the claims with the false representation that there was not any further available coverage.

They did this to the Plaintiff. They did this to the class. Plaintiff and her counsel are

prepared and well-abled, through experience, experts, resources and insurance litigation

history, to represent the class and seek a common resolution. As such, Rule 23

certification is not only proper, but the preferred mechanism to assure that the members

of the class are identified and protected.



                                             Respectfully submitted,

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                                CERTIFICATE OF SERVICE

         I hereby certify that on the 12th day of July, 2019, the foregoing was electronically
filed with the clerk of the court by using the CM/ECF system, which sends notice of electronic
filing to all CM/ECF participants. It is further certified that a true copy hereof was emailed to
the following:


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